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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


NASSER AL-AULAQI,

                Plaintiff,
                                                             No. 10-cv._____
        v.

BARACK H. OBAMA, et al.,

                Defendants.


                     [PROPOSED] PRELIMINARY INJUNCTION


        Upon consideration of Plaintiff’s motion for a preliminary injunction, of any

opposition thereto, and of the entire record in this action;

        It appearing to the Court that the Plaintiff is likely to succeed on the merits of his

action, that he will suffer irreparable injury if the requested relief is not issued, that the

Defendants will not be harmed if the requested relief is issued, and that the public interest

favors the entry of such an order, it is, therefore,

        ORDERED that Plaintiff’s motion for a preliminary injunction is hereby

GRANTED; and it is further

        DECLARED that, outside of armed conflict, the Constitution prohibits

Defendants from carrying out the targeted killing of U.S. citizens, including Plaintiff’s

son, except in circumstances in which they present concrete, specific, and imminent

threats to life or physical safety, and there are no means other than lethal force that could

reasonably be employed to neutralize the threats; and it is further
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          DECLARED that, outside of armed conflict, treaty and customary international

law prohibit Defendants from carrying out the targeted killing of individuals, including

Plaintiff’s son, except in circumstances in which they present concrete, specific, and

imminent threats to life or physical safety, and there are no means other than lethal force

that could reasonably be employed to neutralize the threats; and it is further

          ORDERED that the Defendants Barack H. Obama, Leon C. Panetta, and Robert

M. Gates are hereby PROHIBITED, pending further order of this Court, from

intentionally killing U.S. citizen Anwar Al-Aulaqi unless he is found to present a

concrete, specific, and imminent threat to life or physical safety, and there are no means

other than lethal force that could reasonably be employed to neutralize the threat; and it is

further

          ORDERED, in accordance with Fed. R. Civ. P. 65(c), that this injunction shall be

effective upon Plaintiff’s giving of security in the amount of $10 by depositing that

amount with the Clerk of the Court.




Date: ____________________                    __________________________________
                                              United States District Judge




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